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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  10/20/2020
---------------------------------------------------------------X
                                                               :
STEVEN E. GREER,                                               :
                                                               :
                                    Plaintiff,                 :
                                                               :   1:20-cv-05484 (LTS)(SDA)
                  -v-                                          :
                                                               :   PROTECTIVE ORDER
TUCKER CARLSON et al.,                                         :
                                                               :
                                    Defendants.                :
                                                               :
---------------------------------------------------------------X

STEWART D. AARON, United States Magistrate Judge:

        WHEREAS, the Court filed an Opinion and Order in this action on October 14, 2020

Court a proposed Protective Order in a form described in the October 14 Order;

                                                                                         vidually a

Procedure 26(c) to protect the confidentiality of certain nonpublic and confidential material that
will be exchanged pursuant to and during the course of discovery in this case;

        WHEREAS, the Parties, through counsel, agree to the following terms;

        WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
extends to the limited information or items that are entitled, under the applicable legal principles,
to confidential treatment;

        WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and

        WHEREAS, in light of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing person and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored
confidentiality order governing the pretrial phase of this action;

         IT IS HEREBY ORDERED that any person subject to this Protective Order including
without limitation the parties to this action, their representatives, agents, experts and consultants,
all third parties providing discovery in this action, and all other interested persons with actual or
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constructive notice of this Protective Order   shall adhere to the following terms:

        1.      Any person subject to this Protective Order who receives from any other person
su                                                           i.e., information of any kind produced
or disclosed pursuant to and in course of discovery in this action) that is designated as


except as expressly permitted hereunder.

       2.        The person producing any given Discovery Material may designate as
Confidential only such portion of such material the public disclosure of which is either restricted
by law or will cause harm to the business, commercial, financial or personal interests of the
producing person and/or a third party to whom a duty of confidentiality is used and that consists
of:

                (a) previously nondisclosed financial information (including without limitation
profitability reports or estimates, percentage fees, design fees, royalty rates, minimum guarantee
payments, sales reports, and sale margins);

             (b) previously nondisclosed material relating to ownership or control of any non-
public company;

              (c) previously nondisclosed business plans, product development information, or
marketing plans;

               (d) any information of a personal or intimate nature regarding any individual; or

               (e) any other category of information hereinafter given confidential status by the
Court.

         3.    With respect to the Confidential portion of any Discovery Material other than

such
the protected portion in a manner that will not interfere with legibility or audibility; and (b)
producing for future public use another copy of said Discovery Material with the confidential
information redacted.

        4.
may designate such portion as Confidential either by (a) indicating on the record during the
deposition that a question calls for Confidential information, in which case the reporter will bind
the transcript of the designated testimony (consisting of question and answer) in a separate

notifying the reporter and all counsel of record, in writing, within 30 days after a deposition has
concluded, of the specific pages and lines of the transcript and/or the specific exhibits that are to
be designated Confidential, in which case all counsel receiving the transcript will be responsible
for marking the copies of the designated transcript or exhibit (as the case may be), in their




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the reporter. During the 30-day period following the conclusion of a deposition, the entire
deposition transcript will be treated as if it had been designated Confidential.

        5.      If at any time prior to the trial of this action, a producing person realizes that some
portion(s) of Discovery Material that she, he, or it had previously produced without limitation
should be designated as Confidential, she, he, or it may so designate by so apprising all prior
recipients of the Discovery Material in writing, and thereafter such designated portion(s) of the
Discovery Material will thereafter be deemed to be and treated as Confidential under the terms of
this Protective Order.

       6.      No person subject to this Protective Order other than the producing person shall
disclose any of the Discovery Material designated by the producing person as Confidential to any
other person whomsoever, except to:

               (a) the Parties to this action, their insurers, and counsel to their insurers;

               (b) counsel retained specifically for this action, including any paralegal, clerical
and other assistant employed by such counsel and assigned to this matter;

                (c) outside vendors or service providers (such as copy-service providers and
document-management consultants, graphic production services or other litigation support
services) that counsel hire and assign to this matter, including computer service personnel
performing duties in relation to a computerized litigation system;

              (d) any mediator or arbitrator that the Parties engage in this matter or that this
Court appoints, provided such person has first executed a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto;

                (e) as to any document, its author, its addressee, and any other person indicated
on the face of the document as having received a copy;

                  (f) any witness who counsel for a Party in good faith believes may be called to
testify at trial or deposition in this action, provided such person has first executed a Non-
Disclosure Agreement in the form annexed as an Exhibit hereto;

                (g) any person retained by a Party to serve as an expert witness or otherwise
provide specialized advice to counsel in connection with this action, provided such person has
first executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

               (h) stenographers engaged to transcribe depositions conducted in this action; and

               (i) this Court, including any appellate court, and the court reporters and support
personnel for the same.

        7.      Prior to any disclosure of any Confidential Discovery Material to any person
referred to in subparagraphs 6(d), 6(f) or 6(g) above, such person shall be provided by counsel
with a copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form
annexed as an Exhibit hereto stating that that person has read this Protective Order and agrees to


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be bound by its terms. Said counsel shall retain each signed Non-Disclosure Agreement, hold it
in escrow, and produce it to opposing counsel either prior to such person being permitted to
testify (at deposition or trial) or at the conclusion of the case, whichever comes first.

         8.       Any Party who objects to any designation of confidentiality may at any time prior
to the trial of this action serve upon counsel for the designating person a written notice stating
with particularity the grounds of the objection. If the Parties cannot reach agreement promptly,
counsel for all Parties will address their dispute to this Court in accordance with Paragraph II.B


       9.
                 dinary circumstances) may at any time prior to the trial of this action serve upon
counsel for the receiving Party a written notice stating with particularity the grounds for the
request. If the Parties cannot reach agreement promptly, counsel for all Parties will address their
dispute to this Court in accordance with Paragraph II.
Civil Cases.

        10.     A Party may be requested to produce Discovery Material that is subject to
contractual or other obligations of confidentiality owed to a third party. Within two business
days of receiving the request, the receiving Party subject to such obligation shall inform the third
party of the request and that the third party may seek a protective order or other relief from this
Court. If neither the third party nor the receiving Party seeks a protective order or other relief
from this Court within 21 days of that notice, the receiving Party shall produce the information
responsive to the discovery request but may affix the appropriate controlling designation.

         11.     Recipients of Confidential Discovery Material under this Protective Order may
use such material solely for the prosecution and defense of this action and any appeals thereto,
and specifically (and by way of example and not limitations) may not publish Confidential
Discovery Material to third parties or otherwise use such Confidential Discovery Material for
any other purpose whatsoever, including but not limited to any personal, business, commercial,
or competitive purpose. Nothing contained in this Protective Order, however, will affect or
restrict the rights of any person with respect to its own documents or information produced in
this action. Nor does anything contained in this Protective Order limit or restrict the rights of
any person to use or disclose information or material obtained independently from and not
through or pursuant to the Federal Rules of Civil Procedure.

        12.     Nothing in this Protective Order will prevent any person subject to it from
producing any Confidential Discovery Material in its possession in response to a lawful
subpoena or other compulsory process, or if required to produce by law or by any government
agency having jurisdiction, provided, however, that such person receiving a request, will provide
written notice to the producing person before disclosure and as soon as reasonably possible, and,
if permitted by the time allowed under the request, at least 10 days before any disclosure. Upon
receiving such notice, the producing person will have the right to oppose compliance with the
subpoena, other compulsory process, or other legal notice if the producing person deems it
appropriate to do so.

       13.     All persons seeking to file redacted documents or documents under seal with the


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Court shall follow Rule II.B.3 or III.E
person may file with the Court redacted documents or documents under seal without first seeking
leave to file such papers. All persons producing Confidential Discovery Material are deemed to
be on notice that the Second Circuit puts limitations on the documents or information that may
be filed in redacted form or under seal and that the Court retains discretion not to afford
confidential treatment to any Confidential Discovery Material submitted to the Court or
presented in connection with any motion, application or proceeding that may result in an order
and/or decision by the Court unless it is able to make the specific findings required by law in
order to retain the confidential nature of such material. Notwithstanding its designation, there is
no presumption that Confidential Discovery Material will be filed with the Court under seal;
provided, however, that for purposes of the motion to dismiss the Complaint for lack of subject
matter jurisdiction (ECF No. 46-50), the Parties contemplate that Confidential Discovery
Material will be filed with the Court under seal. The Parties will use their best efforts to
minimize such sealing.

       14.     All persons are hereby placed on notice that the Court is unlikely to seal or
otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial
or supporting or refuting any motion for summary judgment, even if such material has previously
been sealed or designated as Confidential.

       15.     Any Party filing a motion or any other papers with the Court under seal shall also

redacts only the Confidential Discovery Material itself, and not text that in no material way
reveals the Confidential Discovery Material.

       16.     Each person who has access to Discovery Material that has been designated as
Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure
of such material.

        17.    Any                                                  e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the persons who receive such information and are
bound by this Protective Order in a manner that is secure and confidential. In the event that the
person receiving PII experiences a data breach, she, he, or it shall immediately notify the
producing person of the same and cooperate with the producing person to address and remedy
the breach. Nothing herein shall preclude the producing person from asserting legal claims or
constitute a waiver of legal rights or defenses in the event of litigation arising out of the
                     ilure to appropriately protect PII from unauthorized disclosure.

        18.     This Protective Order shall survive the termination of the litigation. Within 30
days of the final disposition of this action, all Discovery Material designated as
and all copies thereof, shall be promptly returned to the producing person, or, upon permission of
the producing person, destroyed.

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         19.    In the event of any conflict or inconsistency between the terms and conditions of
this Protective Order and the Court's October 14 Order, for the avoidance of doubt it is hereby
ordered that the terms of the October 14 Order shall control. All persons subject to this
Protective Order acknowledge that willful violation of this Protective Order could subject them
to punishment for contempt of Court. This Court shall retain jurisdiction over all persons subject
to this Protective Order to the extent necessary to enforce any obligations arising hereunder or to
impose sanctions for any contempt thereof.

       SO STIPULATED AND AGREED.

                                                                                             LLP

       Dated: October 19, 2020
       Steven E. Greer


                                                             Attorneys for Tucker Carlson, Fox Corporation, Fox News
                                                             Media, Fox News Network, LLC, Lachlan Murdoch, Suzanne
                                                             Scott, Justin Wells, Charles Gasparino, Fox Business Network,
                                                             Brian Jones, News Corporation, Dow Jones, The Wall Street
                                                             Journal, Gerard Baker, and Jennifer Strasburg
       SO ORDERED


Dated: October 20, 2020
       New York, New York                                    STEW ART D. AARON
                                                             United States Magistrate Judge




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